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                         UNITED STATES DISTRICT COURT
                            DISTRICT OF MINNESOTA


Angela Craig and Jenny Winslow Davies,                Case No. 20-cv-2066 (WMW/TNL)

                                Plaintiffs,
                                                                ORDER
       v.

Steve Simon, in his official capacity as
Minnesota Secretary of State,

                               Defendant,

       and

Tyler Kistner,

                    Intervenor Defendant.


       This matter is before the Court on Intervenor Defendant Tyler Kistner’s motion to

withdraw as an intervenor. 1 (Dkt. 77.) According to Kistner’s motion, “the legal issues

presented in Plaintiff’s Complaint are moot” and Kistner’s proposed withdrawal “will not

cause undue burden or uncertainty to the remaining parties.” Absent these conclusory

statements, Kistner fails to identify a rule or other legal standard by which the Court can

determine whether withdrawal is proper.

       Based on the foregoing analysis and all the files, records and proceedings herein,

IT IS HEREBY ORDERED that on or before January 21, 2021, Kistner shall




1
      The Court previously granted Kistner’s motion to intervene in this case pursuant to
Rule 24(a)(2), Fed. R. Civ. P.
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supplement the record or SHOW CAUSE as to why the Court should not deny Kistner’s

motion to withdraw on the basis that it lacks sufficient legal grounds.



Dated: January 19, 2021                                 s/Wilhelmina M. Wright
                                                        Wilhelmina M. Wright
                                                        United States District Judge




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